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 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )               No. CR-05-00232 MJJ
                                           )
12                     Plaintiff,          )               STIPULATION AND [PROPOSED]
                                           )               ORDER RELEASING PROPERTY
13   vs.                                   )
                                           )
14   BEAU DEFRENCHI,                       )
                                           )
15                     Defendant.          )
     _____________________________________ )
16

17           On March 10, 2006, this Court sentenced Beau Defrenchi to 30 months in custody for the

18   burglary of Irvington Arms on February 2, 2005, and the burglary of Dom’s Outdoor Outfitters

19   on February 16, 2005. Search warrants arising from those burglaries were executed by the

20   Fremont Police Department on February 21, 2005 and the Livermore Police Department on

21   February 24, 2005, and both the Fremont and Livermore Police Departments seized items during

22   the searches. Mr. Defrenchi was originally arrested by the Fremont Police Department on

23   February 21, 2005, but he was subsequently transferred into federal custody. Because the federal

24   case has been resolved, the parties stipulate that Mr. Defrenchi’s personal property, seized during

25   the searches by Fremont and Livermore police and by the jail when Mr. Defrenchi was booked, is

26   no longer needed for the federal case. Specifically, there is no federal need for the shirts, shoes,


     Order releasing property, 05-00232 M JJ           1
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 1   and jacket seized pursuant to search warrant by the City of Livermore Police Department on

 2   February 24, 2005, and no federal need for the cell phone, computer and $921 seized pursuant to

 3   search warrant and during jail booking by the City of Fremont Police Department on February

 4   21, 2005.

 5   SO STIPULATED.

 6

 7                                                          /S/
     Date: 5/9/06
 8                                                  Rebecca Sullivan Silbert
                                                    Assistant Federal Public Defender
 9                                                  Counsel for Mr. Defrenchi

10

11                                                          /S/
     Date: 5/10/06
12                                                  Kirstin Ault
                                                    Assistant United States Attorney
13

14   I hereby attest that I have on file all holograph signatures for any signatures indicated by a

15   “conformed” signature (/S/) within this e-filed document.

16

17                                                 ORDER

18           Mr. Defrenchi’s personal property was seized in searches executed on February 21, 2005

19   and February 24, 2005 by the Fremont and Livermore Police Department, and during jail booking

20   at the Fremont Jail. The federal charges filed against Mr. Defrenchi arising from those searches

21   have been resolved. The property that was seized is no longer needed for the federal case, and,

22   therefore, there is no federal impediment to the City of Livermore Police Department and the

23   City of Fremont Police Department releasing to Mr. Defrenchi the shirts, shoes, and jacket seized

24   //

25   //

26   //


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 1   pursuant to search warrant on February 24, 2005; and the cell phone, computer and $921 seized

 2   pursuant to search warrant and during jail booking on February 21, 2005.

 3   SO ORDERED.

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 5              15
     Date: May _____, 2006
                                                 Honorable Martin J. Jenkins
 6                                               Judge, United States District Court
                                                 Northern District of California
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     Order releasing property, 05-00232 M JJ        3
